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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 ALBERTO RAMOS,

                                  Plaintiff,

 v.                                                               Case No. 4:23-cv-2517

 SCOTT ERWIN, ET AL.



                                  Defendants.



            MOTION TO WITHDRAW DEPARTED COLLEAGUE AS COUNSEL
_____________________________________________________________________________


         Brittany Francis (“Counsel”) requests approval to withdraw her departed friend and

colleague, Kiah Duggins, as counsel of record for Mr. Alberto Ramos and states:

      1.​ Counsel represents Mr. Ramos, as did her colleague Kiah Duggins.

      2.​ Kiah Duggins was on the plane that crashed coming into D.C. on January 29, 2025, and

         she has passed away.

      3.​ Kiah Duggins was a courageous leader, extraordinary advocate, and loving spirit, and she

         has made the world better and brighter for her time in it.

      4.​ Counsel seeks to withdraw Kiah Duggins as counsel of record for Mr. Ramos, with

         assurance to the Court that Counsel will ensure Mr. Ramos is represented with the zeal

         and excellence he deserves and in honor of Kiah Duggins’ legacy.
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       WHEREFORE, Counsel requests that the Court enter an order authorizing the withdrawal

of Kiah Duggins as counsel of record for Mr. Ramos and for such further relief as the Court

deems appropriate.

       Dated: February 24, 2025

                                                    s/ Brittany Francis

                                                    Brittany Francis (pro hac vice)​     ​
                                            ​       brittany@civilrightscorps.org
                                                    Civil Rights Corps
                                                    1601 Connecticut Ave. NW, Suite 800
                                                    Washington, D.C. 20009
                                                    Telephone: (202) 844-4975

                                                    Caitlin Halpern (Texas Bar; 24116474;
                                                    S.D. Tex. Bar No. 3454643)*
                                                    * Attorney-in-Charge.
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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
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 ALBERTO RAMOS,

                               Plaintiff,

 v.                                                           Case No. 4:23-cv-2517

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                               Defendants.



        PROPOSED ORDER GRANTING MOTION TO WITHDRAW DEPARTED
                        COLLEAGUE AS COUNSEL
_____________________________________________________________________________

        Plaintiff’s Motion to Withdraw Departed Colleague as Counsel is hereby GRANTED.

Kiah Duggins is withdrawn as counsel of record for Alberto Ramos in this matter.

SO ORDERED.

           ​      ​      ​      ​           ​   ​     ​       ___________________________
                                                                  HON. KEITH P. ELLISON
                                                          UNITED STATES DISTRICT JUDGE
